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10   CURTIS J. JACKSON, III AND NYC VIBE, LLC
11                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
12

13
     CURTIS J. JACKSON, III and NYC VIBE,           Case No. ______
                                                             2:25-cv-3623
14   LLC,
                                                    COMPLAINT FOR:
15                            Plaintiffs,
                                                    [1] TRADEMARK
16         v.                                       INFRINGEMENT [15 U.S.C.
                                                    § 1114]
17   RYAN KAVANAUGH, SKILL HOUSE                    [2] FALSE ADVERTISING AND
     MOVIE LLC, and GENTV LLC,                      UNFAIR COMPETITION [15
18                                                  U.S.C. § 1125(a)]
                              Defendants.           [3] VIOLATION OF COMMON
19                                                  LAW RIGHT OF PUBLICITY
                                                    [4] VIOLATION OF STATUTORY
20                                                  RIGHT OF PUBLICITY
                                                    [CALIFORNIA CIVIL CODE
21                                                  § 3344]
                                                    [5] UNFAIR COMPETITION
22                                                  [CAL. BUS. & PROF. CODE
                                                    § 17200]
23                                                  [6] FALSE ADVERTISING [CAL.
                                                    BUS. & PROF. CODE § 17500]
24                                                  [7] COMMON LAW
                                                    TRADEMARK INFRINGEMENT
25                                                  [8] COMMON LAW UNFAIR
                                                    COMPETITION
26

27                                                  [DEMAND FOR JURY TRIAL]
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1         Plaintiffs Curtis J. Jackson, III (“Jackson”) and NYC Vibe, LLC (“NYC Vibe”)
2    (collectively, “Plaintiffs”), by and through their undersigned counsel, for their
3    Complaint against Defendants Ryan Kavanaugh (“Kavanaugh”), Skill House Movie
4    LLC (“Skill House Movie”), and GenTV LLC (“GenTV”) (collectively,
5    “Defendants”), hereby allege as follows:
6                              STATEMENT OF THE CASE
7          1.    This action concerns Defendants’ brazen and unauthorized attempts to
8    use the name, image, voice, and trademarks of Curtis J. Jackson, III p/k/a “50 Cent”
9    to extensively promote, market, and sell Defendants’ film Skill House (the “Film”)
10   and streaming platform GenTV.
11         2.    Although Jackson had discussions with Kavanaugh about acting in and
12   producing the Film, the parties never reached a final agreement. Jackson trusted
13   Kavanaugh—who, despite a series of scandals and bankruptcies, is a well-known
14   name in Hollywood—and provided his acting services with the expectation that the
15   parties would continue to negotiate and, hopefully, reach an agreement.
16         3.    That trust was misplaced. No final agreement was ever signed;
17   nevertheless, Defendants have billed Jackson as the star and producer of the Film.
18   Defendants have shamelessly and deceptively marketed the Film as a “50 Cent
19   Movie” and “produced by 50 Cent,” when it is nothing of the sort. They have also
20   prominently featured Jackson’s name, image, voice, and other identifying
21   characteristics in the Film itself and in various promotional materials.
22         4.    Despite publicly labeling Jackson as a producer of the Film, Jackson was
23   given no creative input into the Film. Indeed, Defendants’ counsel claim that Jackson
24   does not have approval rights over the Film itself. Jackson never would have agreed
25   to be associated with a film absent an opportunity to confirm and ensure that it met
26   his high standards; anything less would irreparably damage his carefully curated and
27   award-winning reputation as a film and television producer.
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1          5.    To add insult to injury, Defendants have not paid Jackson a dime in
2    connection with their unauthorized use of Jackson’s services and intellectual property
3    in connection with the Film.
4          6.    To make matters worse, Defendants have not stopped at misappropriating
5    Jackson’s valuable intellectual property for the Film alone: they are also using
6    Jackson’s intellectual property and the Film to promote their new streaming platform,
7    GenTV—a platform which directly competes with Jackson’s own streaming channel,
8    50 Cent Action. In other words, Defendants plan not only to steal Jackson’s reputation
9    and goodwill amongst his millions of fans to boost their own film, but also to use that
10   film to unfairly compete with Jackson’s other business ventures. Obviously, Jackson
11   never would have agreed to allow his intellectual property to be used in such a
12   manner.
13         7.    Despite Plaintiffs’ repeated objections and demands to cease and desist,
14   Defendants continue to infringe and misappropriate Plaintiffs’ intellectual property
15   rights and intend to release the Film in the coming weeks (if not days). Should the
16   Film be released publicly, Jackson faces irreparable harm to his valuable brand and
17   reputation. This Court must therefore enjoin Defendants from releasing the Film and
18   using Jackson’s intellectual property to promote the Film and the GenTV platform.
19                                  Jurisdiction and Venue
20         8.    This Court has subject matter jurisdiction over this action pursuant to 28
21   U.S.C. §§ 1331 (federal question) and 1338 (trademarks) because Plaintiffs’ claims
22   arise under the Lanham Act, 15 U.S.C. § 1121 et seq.
23         9.    This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a)
24   because Plaintiffs’ state law claims are so related to the claims within this Court’s
25   original jurisdiction that they form part of the same case or controversy under
26   Article III of the United States Constitution.
27         10. This Court has personal jurisdiction over Kavanaugh because, on
28   information and belief, he is domiciled in the State of California.

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1          11. This Court has personal jurisdiction over Skill House Movie because, on
2    information and belief, it is registered to do business under the laws of the State of
3    California and maintains its principal place of business in the State of California.
4          12. This Court has personal jurisdiction over GenTV because, on information
5    and belief, it is registered to do business under the laws of the State of California and
6    maintains its principal place of business in the State of California.
7          13. Venue in this District is proper pursuant to 28 U.S.C. §§ 1391(b) and (c)
8    because Defendants are subject to personal jurisdiction in this District and a
9    substantial part of the events giving rise to this action occurred in this District.
10                                            Parties
11         14. Plaintiff Jackson is an individual who is domiciled in the State of Texas.
12   Jackson is a world-famous rapper, actor, producer, entrepreneur, and philanthropist
13   who is professionally known as “50 Cent.” Given his extensive and successful career,
14   Jackson’s name, image, voice, and other intellectual property have substantial
15   commercial value.
16         15. Plaintiff NYC Vibe is a Delaware limited liability company. NYC Vibe
17   is used to hold Jackson’s intellectual property, including but not limited to his
18   valuable 50 Cent Marks (defined below).
19         16. Defendant Kavanaugh is a film and television financier and producer.
20   Upon information and belief, Kavanaugh is domiciled in Los Angeles County,
21   California. Upon information and belief, Kavanaugh directly or indirectly owns
22   and/or controls Skill House Movie and GenTV.
23         17. Defendant Skill House Movie is a Delaware limited liability company and
24   is also registered in California. Upon information and belief, Skill House Movie
25   maintains an office in Los Angeles County, California. Upon information and belief,
26   Skill House Movie serves as the producer for the Film.
27         18. Defendant GenTV is a Delaware limited liability company and is also
28   registered in California. Upon information and belief, GenTV maintains an office in

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1    Los Angeles County, California. Upon information and belief, GenTV serves as the
2    production company for the Film.
3                          Facts Common to All Claims for Relief
4                   Jackson’s Valuable Intellectual Property and Brand
5          19. Jackson is one of the most recognized and admired artists and
6    entrepreneurs in the world. As a result of his enormous fame, Jackson’s name, image,
7    and voice enjoy widespread recognition and his intellectual property commands a
8    high monetary value. For example, a 2024 Billboard article named him as only the
9    second rapper to ever exceed $100 million in earnings, and the eighth-highest
10   grossing rapper of all time.
11         20. In addition to his extensive musical career, Jackson has created, produced,
12   and directed a number of television shows, films, and documentaries, including
13   Power and multiple spin-offs on Starz; For Life on ABC; and Black Mafia Family on
14   Starz. (Many of Jackson’s film and television endeavors are conducted through his
15   company G-Unit Film & Television, Inc. (“G-Unit”).)
16         21. Jackson has also forayed into acting, and has starred in well-known films,
17   including Southpaw, Expend4bles, and Den of Thieves, and popular television shows,
18   including Power and For Life.
19         22. Jackson continues to expand his film and television empire. Over the past
20   several years he has developed a high-profile partnership with the city of Shreveport,
21   Louisiana to launch a film and television studio, which will expand Jackson’s
22   production portfolio and provide much-needed employment and economic
23   development opportunities to the city and surrounding area.
24         23. And in 2024, Jackson partnered with entertainment company Lionsgate
25   to launch a free, advertising-supported streaming channel called “50 Cent Action,”
26   which is available on the Roku and LG Channels streaming service. 50 Cent Action
27   features premium films and television series hand-selected by Jackson from
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1    Lionsgate’s extensive library of tens of thousands of titles, including Jackson’s own
2    projects.
3            24. Jackson is the owner of the valid and legally protectable mark 50 CENT.
4    Jackson, through NYC Vibe, has common law rights in the 50 CENT mark and has
5    registered or applied to register the 50 CENT mark in the United States and across the
6    world for various goods and services, including but not limited to entertainment
7    services in the nature of musical performances (U.S. Trademark Registration No.
8    2,807,302 1) and the production and distribution of television shows and movies and
9    entertainment services in the nature of televised and movie appearances (U.S.
10   Trademark Serial No. 97/155,408 2) (collectively, the “50 Cent Marks”). True and
11   correct copies of Registration No. 2,807,302 and Serial No. 97/155,408 are attached
12   hereto as Exhibits A and B, respectively.
13           25. As a result of his immense fame and popularity, Jackson regularly
14   receives lucrative offers to license the use of his name, image, voice, and other
15   intellectual property to promote a wide variety of goods and services. In order to
16   maintain the integrity of his brand, Jackson is extremely selective about what goods
17   or services he will agree to endorse. Accordingly, Jackson maintains strict control
18   over the manner in which his name, image, voice, and other intellectual property are
19   used and is highly compensated for any such use.
20           26. Jackson maintains a similar level of careful control over all his business
21   ventures, including acting and producing opportunities. Despite a constant stream of
22   requests, Jackson is very selective about which projects he lends his acting or
23   producing services to in order to maintain his valuable brand and reputation.
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         Registration No. 2,807,302 is incontestable.
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         A Notice of Allowance has been issued for Serial No. 97/155,408.
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1                           Negotiations Over the Skill House Film
2          27. In or about 2022, Jackson (both individually and through his company,
3    G-Unit) entered into discussions with Skill House Movie and Kavanaugh for Jackson
4    to potentially act in and produce the Film.
5          28. The parties only got as far as negotiating a term sheet, but that term sheet
6    was never finalized. Despite the drafts containing signature blocks for Jackson and
7    G-Unit, neither signed any version of the term sheet. Upon information and belief,
8    Skill House Movie never signed the term sheet either.
9          29. It was understood and expected that any agreement with Kavanaugh and
10   Skill House Movie would be negotiated and memorialized in a long-form, signed
11   contract, and that the term sheet was just that—a term sheet which (once signed)
12   would act as a placeholder pending a comprehensive agreement.
13         30. To avoid unnecessary delay and based on a mistaken good-faith belief in
14   Kavanaugh’s promises and reputation, Jackson filmed scenes to be used in the Film
15   once a final agreement was reached. (Jackson’s minor son, Sire, also filmed scenes to
16   be used in the Film.) Jackson expected that Kavanaugh and Skill House Movie would
17   continue to negotiate, memorialize, and finalize an agreement between the parties in
18   a long-form, signed contract.
19         31. Jackson’s trust in Kavanaugh was misplaced, and no final agreement
20   (signed or otherwise) was ever reached between the parties regarding the Film.
21         32. In fact, Jackson was never compensated (directly or through G-Unit) for
22   his participation in the Film, either for his acting or for his purported role in producing
23   the Film. 3 (Similarly, Jackson’s son was not paid.)
24         33. The lack of a final agreement and failure to compensate Jackson should
25   come as no surprise because, on information and belief, Kavanaugh failed to keep
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27   3
      To the extent Defendants claim they have a contract with Jackson (which Jackson
     denies), Defendants’ failure to compensate him would be a material breach of any
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     such contract.
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1    proper records and unilaterally modified the Film’s budget to the tune of millions of
2    dollars making it virtually impossible for any backend compensation to be awarded.
3        Defendants’ Promotion of the Film Using Jackson’s Name, Image, Voice, and
4                            Trademarks Without Authorization
5            34. Defendants have made Jackson the centerpiece of their promotional and
6    marketing efforts for the Film.
7            35. Not only is Jackson being used to promote the Film, but, on information
8    and belief, Jackson is heavily featured in the Film.
9            36. A roughly nine-minute clip from the Film is currently available for free
10   on the GenTV streaming platform. The clip’s on-screen credits prominently label it
11   as “A 50 CENT MOVIE” and “PRODUCED BY 50 CENT.” The clip also lists
12   “Curtis ‘50 Cent’ Jackson” as a cast member.
13           37. The “official trailer” for the Film prominently features Jackson, and the
14   description under the video states: “Starring multi-talented icon Curtis ‘50 Cent’
15   Jackson.” 4 The trailer even features distinctive bottles of Jackson’s champagne, Le
16   Chemin du Roi.
17           38. Press coverage of the Film—which, on information and belief, is driven
18   largely (if not entirely) by Defendants’ marketing efforts—associates Jackson’s name
19   and reputation so closely with the Film such that the Film has been labeled as “50
20   Cent’s film.”5
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     4
           Skillhouse     Official    Trailer,    YouTube     (Apr.     17,     2025),
22
     https://www.youtube.com/watch?v=aSneVvYtmY0.
     5
23     See, e.g., 50 Cent’s Upcoming Horror Film ‘Skillhouse’ Reportedly So Intense It
     Made       Crew     Member      Faint,    The   Source    (Apr.     14,    2025),
24
     https://thesource.com/2025/04/14/50-cents-upcoming-horror-film-skillhouse-
25   reportedly-so-intense-it-made-crew-member-faint/; Anthony D’Alessandro, 50 Cent
     Horror Movie ‘Skillhouse’ From Ryan Kavanaugh’s GenTv Sets Summer Release Via
26
     Fathom – CinemaCon, Deadline (Mar. 31, 2025), https://deadline.com/2025/03/50-
27   cent-skillhouse-release-date-1236354851/; Marc Griffin, 50 Cent To Star In New
     Social Media-Based Horror Movie ‘Skill House’, Vibe (July 12, 2022),
28
     https://www.vibe.com/news/movies-tv/50-cent-produce-star-skill-house-horror-
                                                7
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1            39. The Film’s Instagram page (@skillhousemovie) also features Jackson’s
2    name and trademarks, and claims that the Film stars “@50cent” and is produced by
3    “@50cent.”
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14           40. Despite Defendants prominently advertising Jackson’s purported role as
15   a producer of the Film, Jackson had no creative control over or input into the movie.
16   Indeed, Defendants have maintained that Jackson has no approval rights over the
17   Film.
18    Defendants Are Capitalizing on Jackson’s Reputation to Launch the GenTV
19                                  Streaming Platform
20           41. Defendants are not only using Jackson’s name, image, voice, and
21   trademarks to promote the Film, but they are also using his intellectual property to
22   promote their nascent streaming platform GenTV. Indeed, Defendants have used
23

24
     film-1234677184/; Keith Langston, 50 Cent’s new horror movie Skill House is so
25   graphic, a cameraman passed out during bloody filming, Entertainment Weekly (July
     21,       2022),      https://ew.com/movies/50-cents-new-horror-movie-so-graphic-
26
     cameraman-faints-during-filming/; EJ Panaligan, 50 Cent’s New Horror Movie Is so
27   Gory That the Cameraman Fainted, Variety (Jul. 20, 2022),
     https://variety.com/2022/film/news/50-cent-horror-movie-cameraman-fainted-gory-
28
     1235321210/.
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 1   Jackson’s intellectual property and the Film to market and launch the GenTV
 2   streaming platform. For example, the Film has been marketed as the “debut” project
 3   for GenTV.
 4         42. Defendants’ efforts to associate Jackson and his intellectual property with
 5   GenTV include, on information and belief, sponsored articles designed to mimic
 6   organic, independent press coverage. Upon information and belief, these articles were
 7   not drafted by journalists, but by a marketing agency engaged by Defendants to
 8   promote GenTV.
 9         43. Based on public reports, it appears that Kavanaugh and GenTV’s intended
10   business model is to have public figures and influencers both participate in the
11   platform’s films and also take on the work of marketing the films that would
12   traditionally be handled by the platform itself.6
13         44. Indeed, a July 2024 press release from GenTV stated: “‘Skillhouse’ marks
14   the beginning of an ambitious project by GENTV to release 5-10 films annually, each
15   headlined by top influencers. These films will be uniquely distributed through two
16   distinct platforms: short-form episodic films released on social media by the
17   influencers and traditional full-length features available in theaters and all subsequent
18   release windows, in an attempt to merge short and long form content consumption.”7
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20   6
       See, e.g., Jon Stojan, Ryan Kavanaugh’s GENTV advances film, TV and streaming
21   with record-breaking film, Skillhouse, VentureBeat (Aug. 7, 2024),
     https://venturebeat.com/business/ryan-kavanaughs-gentv-advances-film-tv-and-
22
     streaming-with-record-breaking-film-skillhouse/ (“By selling episodes at $0.99 to
23   $1.99 each and leveraging social media stars for direct selling, GENTV can generate
     substantial revenue before a movie’s release…. [T]he shorts are all together different
24
     content than the movie.”). The VentureBeat article is labeled as “Contributor
25   Content” and contains the disclaimer that “VentureBeat newsroom and editorial staff
     were not involved in the creation of this content,” hallmarks of paid-for promotional
26
     content—likely from Defendants—rather than independent journalism.
     7
27     GENTV.COM's “Skillhouse” Shatters All Records with Unprecedented Engagement
     and      Viewership      Metrics,   Access      Newswire       (July    31,    2024),
28
     https://www.accessnewswire.com/newsroom/en/sports-leisure-and-
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 1   (As of the date of this Complaint, a link in that press release for “[m]ore information
 2   on GENTV.’s next films” simply redirects to the Film’s webpage on GenTV’s
 3   website.)
 4         45. Upon information and belief, Defendants planned—and still plan—to
 5   release the Film via GenTV. Defendants’ counsel stated that there is no plan to release
 6   the Film on the GenTV platform, but as of the date of this Complaint, the Film is still
 7   being advertised, marketed, and promoted as though it will be released on GenTV.
 8   For    example,     the   Film      is   still   featured   on    GenTV’s      website
 9   (https://skillhouse.gentv.com/). The Film’s Instagram account also links to GenTV’s
10   home page (https://www.gentv.com/), which redirects to a separate website for the
11   Film (https://skillhouse.movie/).
12         46. GenTV, as a startup streaming platform, is a direct competitor to
13   Jackson’s own streaming channel, 50 Cent Action. Jackson never would have agreed
14   to, in effect, compete with himself. (Even the draft, unsigned term sheet does not
15   contemplate a release via GenTV.)
16         47. Before the filing of this Complaint, Jackson repeatedly raised this issue
17   with Defendants. For example, in August 2024, the publication Maxim published an
18   online article entitled “50 Cent & Ryan Kavanaugh Take On Hollywood With
19   Influencer-Driven GenTV,” falsely implying that Jackson was affiliated with and
20   even had a leadership or ownership role at GenTV. Jackson’s representatives
21   immediately reached out to Kavanaugh to ask him to facilitate a correction.
22   Kavanaugh claimed that he (or his representatives) told the publication that Jackson
23   was an “owner” of the Film (itself a false statement) but that the publication
24   misunderstood and described Jackson as an owner of GenTV.
25         48. Kavanaugh’s explanation was dubious. The Maxim article is labeled as a
26   “Partner” article, meaning that it is a paid-for piece and not genuine press coverage.
27
     entertainment/gentvcoms-skillhouse-shatters-all-records-with-unprecedented-
28
     engage-894311.
                                                10
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 1   (Maxim’s website explains: “Any content on Maxim.com which includes the
 2   disclaimer language “Partner” … represents sponsored advertising content ….”). In
 3   other words, the false association between Jackson and GenTV was a deliberate
 4   marketing effort by Defendants, not a reporter’s misunderstanding.
 5         49. Jackson’s representatives explained to Kavanaugh that Jackson had “just
 6   launched [his] own streaming channel” and that “[t]his is a conflict for us.” They also
 7   explained that Jackson or his representatives needed to review and approve press
 8   releases or other public statements involving or referencing Jackson.
 9         50. In response to Jackson’s complaint, the title on the Maxim article was
10   changed to remove reference to GenTV: “50 Cent & Ryan Kavanaugh Take On
11   Hollywood With ‘Skill House,’ A Revolutionary Influencer-Driven Project.”8
12         51. Despite having raised concerns months ago, Jackson’s name, image, and
13   trademarks still feature prominently across the GenTV platform. For example, on the
14   Film’s webpage on GenTV’s website, Jackson is listed in a “Starring” role and a video
15   clip from the Film—which starts with a prominent image of Jackson and features him
16   throughout—automatically plays in the background.9 There is no other substantive
17   content on GenTV’s website. It appears that GenTV is entirely based on the Film, and
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     8
        50 Cent & Ryan Kavanaugh Take On Hollywood With ‘Skill House,’ A
26
     Revolutionary       Influencer-Driven Project, Maxim     (Aug.    9,   2024),
27   https://www.maxim.com/partner/50-cent-ryan-kavanaugh-take-on-hollywood-with-
     influencer-driven-gentv/.
28   9
       https://skillhouse.gentv.com/.
                                               11
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 1   the Film is primarily based on Jackson.
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14                                       The Film’s Release
15         52. According to an April 22, 2025 email from Defendants’ counsel, the Film
16   is scheduled to be released to the public on July 11, 2025. 10
17         53. Jackson      and    his     counsel   and   representatives   had    multiple
18   communications with Defendants’ counsel in the weeks before the scheduled release
19   of the Film. Despite Jackson’s efforts to amicably resolve this dispute without judicial
20   intervention, Defendants’ counsel deny that there is any dispute. They also claim that
21   Jackson has no “approval rights” over the Film, despite it being marketed as a “50
22   Cent Movie” and “produced by 50 Cent.”
23
     10
        In addition to the method(s) by which Defendants plan to release the Film, there
24
     remains significant uncertainty as to the Film’s release date(s). For example, a
25   “pinned” post on the Film’s Instagram account, @skillhousemovie, states: “Release
     date April 25th theatrical!” (That same post includes an image of a poster for the Film,
26
     which features Jackson’s name and image.) Similarly, the industry website IMDB
27   states: “COMING SOON Releases April 25, 2025” and “April 25, 2025 (Internet).”
     And in a previous conversation held on April 17, 2025, the same counsel for
28
     Defendants stated that the Film was going to be released at the end of April.
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 1         54. Even more concerning, Defendants’ counsel have represented that
 2   Defendants have been exploring the “franchise potential” for the Film, “including
 3   sequels, prequels, spin-offs, and remakes, which are currently in various stages of
 4   development,” indicating that Defendants will continue to infringe and
 5   misappropriate Jackson’s intellectual property for years to come if not enjoined from
 6   such behavior.
 7         55. Unable to reach a resolution with Defendants, and with the Film’s release
 8   date fast approaching, Jackson was left with no choice but to file this lawsuit.
 9                                   First Cause of Action
10                       Trademark Infringement, 15 U.S.C. § 1114
11                          All Plaintiffs Against All Defendants
12         56. Plaintiffs reallege and incorporate by reference the allegations against all
13   Defendants contained in paragraphs 1 through 55 as though set forth fully herein.
14         57. Plaintiff Jackson, through Plaintiff NYC Vibe, is the owner of the 50 Cent
15   Marks. The 50 Cent Marks, although inherently distinctive, have also acquired
16   substantial goodwill and secondary meaning.
17         58. Defendants have made unauthorized use of the 50 Cent Marks in
18   commerce in connection with the sale, offering for sale, distribution, and advertising
19   of goods or services in violation of 15 U.S.C. § 1114. Defendants have not been
20   authorized by Plaintiffs to use the 50 Cent Marks in any manner. This infringement
21   by Defendants has been deliberate and willful.
22         59. Defendants’ unauthorized use in commerce of the 50 Cent Marks as
23   alleged herein is likely to cause confusion, cause mistake, or deceive consumers as to
24   the affiliation, sponsorship, or endorsement of Defendants’ goods and services,
25   including but not limited to the Film and the GenTV platform, and is likely to cause
26   consumers to believe, contrary to fact, that Defendants and their goods and services
27   are affiliated with, sponsored by, or endorsed by Plaintiffs.
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 1         60. Unless restrained and enjoined by this Court, Defendants will continue to
 2   make unauthorized use of the 50 Cent Marks in commerce in connection with the
 3   sale, offering for sale, distribution, and advertising of goods or services.
 4         61. Defendants have committed the foregoing acts of infringement with full
 5   knowledge of Plaintiffs’ rights in the 50 Cent Marks and with the willful intent to
 6   cause confusion and trade on Plaintiffs’ goodwill and reputation.
 7         62. By reason of this unauthorized use of the 50 Cent Marks, or marks
 8   confusingly similar thereto, Defendants have unlawfully and wrongfully derived, and
 9   will continue to unlawfully and wrongfully derive, income and profits from these
10   infringing acts, and Plaintiffs have suffered, and will continue to suffer, substantial
11   damages and irreparable injury.
12         63. Plaintiffs have no adequate remedy at law and are therefore entitled to
13   injunctive relief.
14                                   Second Cause of Action
15            False Advertising and Unfair Competition, 15 U.S.C. § 1125(a)
16                             All Plaintiffs Against All Defendants
17         64. Plaintiffs reallege and incorporate by reference the allegations against all
18   Defendants contained in paragraphs 1 through 63 as though set forth fully herein.
19         65. Defendants have made false and misleading representations of fact,
20   including the unauthorized use of Jackson’s name, image, and other intellectual
21   property rights in interstate commerce in connection with the sale, offering for sale,
22   distribution, and advertising of goods or services, including but not limited to the Film
23   and the GenTV platform, in violation of 15 U.S.C. § 1125(a). Defendants have not
24   been authorized by Plaintiffs to use Jackson’s name, image, or other intellectual
25   property rights in any manner. This unauthorized use by Defendants has been
26   deliberate and willful.
27          66. Defendants’ unauthorized use in interstate commerce of Jackson’s name,
28   image, and other intellectual property rights as alleged herein is likely to cause

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 1   confusion, cause mistake, or deceive consumers as to the affiliation, sponsorship, or
 2   endorsement of Defendants’ goods and services, and is likely to cause consumers to
 3   believe, contrary to fact, that Defendants and their goods and services are affiliated
 4   with, sponsored by, or endorsed by Plaintiffs.
 5         67. Unless restrained and enjoined by this Court, Defendants will continue to
 6   make unauthorized use of Jackson’s name, image, and other intellectual property
 7   rights in commerce in connection with the sale, offering for sale, distribution, and
 8   advertising of goods or services.
 9         68. Defendants have committed this unauthorized use with the willful intent
10   to cause confusion and trade on Plaintiffs’ goodwill and reputation.
11         69. By reason of this unauthorized use of Jackson’s name, image, and other
12   intellectual property rights, Defendants have unlawfully and wrongfully derived, and
13   will continue to unlawfully and wrongfully derive, income and profits from these
14   infringing acts, and Plaintiffs have suffered, and will continue to suffer, substantial
15   damages and irreparable injury.
16         70. Plaintiffs have no adequate remedy at law and are therefore entitled to
17   injunctive relief.
18                                   Third Cause of Action
19                        Violation of Common Law Right of Publicity
20                          Plaintiff Jackson Against All Defendants
21         71. Plaintiffs reallege and incorporate by reference the allegations against all
22   Defendants contained in paragraphs 1 through 70 as though set forth fully herein.
23         72. Through Defendants’ unauthorized use of Jackson’s identity, including
24   but not limited to his name, image, and voice, Defendants have misappropriated
25   Jackson’s rights in his name and identity as provided under the common law right of
26   publicity.
27         73. In exploiting and appropriating Jackson’s exclusive publicity rights,
28   Defendants have damaged and are continuing to damage those rights by, among other

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 1   things, tarnishing and exploiting those rights without Jackson’s permission, thus
 2   diminishing their value, including without limitation their value for future licensing.
 3   Further, Defendants have injured and continue to injure Jackson by exploiting his
 4   publicity rights without Jackson retaining control thereof or receiving any income
 5   properly owing to him as the sole owner of his rights of publicity.
 6           74. Defendants did not engage in such wrongful actions out of any sincere or
 7   proper motive, but did so knowingly, willfully, oppressively, and maliciously,
 8   intending to appropriate to themselves without compensation what they knew to be
 9   Jackson’s valuable rights. Said misconduct was also fraudulent, in that the public has
10   been misled and will continue to be misled to believe, incorrectly, that Jackson
11   consented to such commercial use of his name and identity, when in fact he did not,
12   and that Jackson is endorsed the Film and the GenTV platform, when in fact he did
13   not.
14           75. As a direct and proximate result of Defendants’ conduct, Jackson has
15   suffered, and will continue to suffer, substantial damages and irreparable injury.
16           76. Jackson has no adequate remedy at law and is therefore entitled to
17   injunctive relief.
18                                  Fourth Cause of Action
19          Violation of Statutory Right of Publicity, California Civil Code § 3344
20                         Plaintiff Jackson Against All Defendants
21           77. Plaintiffs reallege and incorporate by reference the allegations against all
22   Defendants contained in paragraphs 1 through 76 as though set forth fully herein.
23           78. Defendants have misappropriated Jackson’s publicity rights, including
24   but not limited to his name, image, and voice, for purposes of advertising and selling
25   their goods or services without Jackson’s permission, in violation of California Civil
26   Code § 3344.
27           79. In knowingly exploiting Jackson’s publicity rights, Defendants have
28   damaged and are continuing to damage those rights by, among other things, tarnishing

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 1   and trivializing those rights, thus diminishing their value, including without limitation
 2   their value for future licensing. Further, Defendants have injured and continue to
 3   injure Jackson by purporting to exercise Jackson’s publicity rights without Jackson
 4   retaining control thereof or receiving any income properly owing to him as the sole
 5   owner of his right to publicity.
 6         80. Defendants did not engage in such wrongful actions out of any sincere or
 7   proper motive, but did so knowingly, willfully, and oppressively, intending to
 8   appropriate to themselves without compensation what they knew to be Jackson’s
 9   valuable rights. Said misconduct was also fraudulent, in that the public has been
10   misled and will continue to be misled to believe, incorrectly, that Jackson consented
11   to such commercial use of his name and identity, when in fact he did not, and that
12   Jackson endorsed the Film and the GenTV platform, when in fact he did not.
13         81. As a direct and proximate result of Defendants’ conduct, Jackson has
14   suffered, and will continue to suffer, substantial damages and irreparable injury.
15         82. Jackson has no adequate remedy at law and is therefore entitled to
16   injunctive relief.
17                                      Fifth Cause of Action
18              Unfair Competition, Cal. Bus. & Prof. Code §§ 17200 et seq.
19                           All Plaintiffs Against All Defendants
20         83. Plaintiffs reallege and incorporate by reference the allegations against all
21   Defendants contained in paragraphs 1 through 82 as though set forth fully herein.
22         84. Defendants have engaged in fraudulent, unfair, and unlawful conduct in
23   violation of Cal. Bus. & Prof. Code §§ 17200 et seq. Specifically, Defendants have
24   competed unfairly, deceptively, untruly, and misleadingly by, among other things,
25   knowingly and willfully making unauthorized use of Jackson’s name, image, and
26   other intellectual property rights in connection with their efforts to sell and market
27   goods and services, including the Film and the GenTV platform.
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 1         85. For example, Defendants have engaged in marketing efforts which falsely
 2   state or imply that Jackson is affiliated with, and even has an ownership role with, the
 3   GenTV platform. These statements are false and misleading. Jackson did not
 4   authorize his name, image, or other intellectual property rights to be used in
 5   connection with the Film or the GenTV platform.
 6         86. As a result of Defendants’ unlawful actions, consumers are likely to be
 7   confused and deceived. For example, consumers are likely to believe that Jackson is
 8   affiliated with or endorses the GenTV streaming platform, when in fact Jackson has
 9   his own competing streaming channel. Similarly, consumers are likely to believe that
10   Jackson endorsed the Film, when in fact he had no creative input into the Film
11   whatsoever.
12         87. Defendants’ actions have been and continue to be knowing and willful.
13         88. As a direct and proximate result of Defendants’ conduct, Plaintiffs have
14   suffered injury and irreparable harm and will continue to suffer such injury and
15   irreparable harm unless Defendants are enjoined from such further conduct.
16                                  Sixth Cause of Action
17                   False Advertising, Cal. Bus. & Prof. Code § 17500
18                          All Plaintiffs Against All Defendants
19         89. Plaintiffs reallege and incorporate by reference the allegations against all
20   Defendants contained in paragraphs 1 through 88 as though set forth fully herein.
21         90. Defendants have published or disseminated intentionally false and
22   misleading statements in an effort to associate Jackson with the Film and the GenTV
23   platform.
24         91. For example, Defendants have engaged in marketing efforts which falsely
25   state or imply that Jackson is affiliated with, and even has an ownership role with, the
26   GenTV platform. These statements are false and misleading. Jackson did not
27   authorize his name, image, or other intellectual property rights to be used in
28   connection with the Film or the GenTV platform.

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 1          92. As a result of Defendants’ unlawful conduct, the public and potential
 2   consumers of the types of goods and services Defendants offer are likely to be
 3   confused and deceived. For example, consumers are likely to believe that Jackson is
 4   affiliated with or endorses the GenTV streaming platform, when in fact Jackson has
 5   his own competing streaming channel. Similarly, consumers are likely to believe that
 6   Jackson endorsed the Film, when in fact he had no creative input into the Film
 7   whatsoever.
 8          93. Defendants’ actions have been and continue to be knowing and willful.
 9          94. As a direct and proximate result of Defendants’ conduct, Plaintiffs have
10   suffered irreparable harm and will continue to suffer such harm unless Defendants are
11   enjoined from such further conduct.
12                                 Seventh Cause of Action
13                  Trademark Infringement, California Common Law
14                          All Plaintiffs Against All Defendants
15          95. Plaintiffs reallege and incorporate by reference the allegations against all
16   Defendants contained in paragraphs 1 through 94 as though set forth fully herein.
17          96. Jackson, directly or through NYC Vibe, is the owner of the 50 Cent Marks
18   and other valuable intellectual property. The 50 Cent Marks, although inherently
19   distinctive, have also acquired substantial goodwill and secondary meaning.
20          97. Defendants have made unauthorized use of the 50 Cent Marks in
21   commerce in connection with the sale, offering for sale, distribution, and advertising
22   of goods or services. Defendants have not been authorized by Plaintiffs to use the 50
23   Cent Marks in any manner. This infringement by Defendants has been deliberate and
24   willful.
25          98. Defendants’ unauthorized use in commerce of the 50 Cent Marks as
26   alleged herein is likely to cause confusion, cause mistake, or deceive consumers as to
27   the affiliation, sponsorship, or endorsement of Defendants’ goods and services,
28   including but not limited to the Film and the GenTV platform, and is likely to cause

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 1   consumers to believe, contrary to fact, that Defendants and their goods and services
 2   are affiliated with, sponsored by, or endorsed by Plaintiffs.
 3         99. Unless restrained and enjoined by this Court, Defendants will continue to
 4   make unauthorized use of the 50 Cent Marks in commerce in connection with the
 5   sale, offering for sale, distribution, and advertising of goods or services.
 6         100. Defendants have committed the foregoing acts of infringement with full
 7   knowledge of Plaintiffs’ rights in the 50 Cent Marks and with the willful intent to
 8   cause confusion and trade on Plaintiffs’ goodwill and reputation.
 9         101. By reason of this unauthorized use of the 50 Cent Marks, Defendants have
10   unlawfully and wrongfully derived, and will continue to unlawfully and wrongfully
11   derive, income and profits from these infringing acts, and Plaintiffs have suffered,
12   and will continue to suffer, substantial damages and irreparable injury.
13         102. Plaintiffs have no adequate remedy at law and are therefore entitled to
14   injunctive relief.
15                                  Eighth Cause of Action
16                        Unfair Competition, California Common Law
17                            All Plaintiffs Against All Defendants
18         103. Plaintiffs reallege and incorporate by reference the allegations against all
19   Defendants contained in paragraphs 1 through 102 as though set forth fully herein.
20         104. Through their unauthorized use of Jackson’s name, image, and other
21   valuable intellectual property rights, including the 50 Cent Marks, Defendants have
22   willfully and without permission misappropriated Jackson’s intellectual property
23   rights. These unlawful actions by Defendants have harmed Plaintiffs’ investment and
24   goodwill in Jackson’s reputation, as well as his other intellectual property rights,
25   including the 50 Cent Marks.
26         105. Jackson’s name, image, and other intellectual property rights, including
27   the 50 Cent Marks, have acquired substantial goodwill and secondary meaning.
28   Despite that, Defendants without authorization made use of Jackson’s intellectual

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 1   property in order to mislead consumers into associating Jackson with the Film and the
 2   GenTV platform.
 3         106. For example, Defendants have engaged in marketing efforts which falsely
 4   state or imply that Jackson is affiliated with, and even has an ownership role with, the
 5   GenTV platform. These statements are false and misleading. Jackson did not
 6   authorize his name, image, or other intellectual property rights to be used in
 7   connection with the Film or the GenTV platform.
 8         107. As a result of Defendants’ unlawful actions, consumers are likely to be
 9   confused and deceived. For example, consumers are likely to believe that Jackson is
10   associated with or endorses the GenTV streaming platform, when in fact Jackson has
11   his own competing streaming channel. Similarly, consumers are likely to believe that
12   Jackson endorsed the Film, when in fact he had no creative input into the Film
13   whatsoever.
14         108. Defendants’ actions have been and continue to be knowing and willful.
15         109. As a direct and proximate result of Defendants’ conduct, Plaintiffs have
16   suffered, and will continue to suffer, substantial damages and irreparable injury.
17         110. Plaintiffs have no adequate remedy at law and are therefore entitled to
18   injunctive relief.
19                                DEMAND FOR RELIEF
20         WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in
21   their favor and against Defendants as follows:
22         1.    For entry of a preliminary and permanent injunctions prohibiting
23   Defendants and each of their agents, owners, shareholders, partners, employees,
24   attorneys, assigns, and all others associated or acting in concert with them from
25   committing further unlawful or infringing acts including:
26                   a. Releasing the Skill House film to the public;
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 1                  b. Using Plaintiffs’ intellectual property in connection with the sale,
 2                      offering for sale, distribution, and advertising of the Skill House
 3                      film;
 4                  c. Using Plaintiffs’ intellectual property in connection with the sale,
 5                      offering for sale, distribution, and advertising of the GenTV
 6                      streaming platform;
 7                  d. Engaging      in    any   further   acts   of   infringement    and/or
 8                      misappropriation of Plaintiffs’ intellectual property rights,
 9                      including the 50 Cent Marks;
10                  e. Making, implying, or displaying statements or representations that
11                      are likely to lead the public to believe that Plaintiffs in any way
12                      approved or endorsed the Skill House film and/or the GenTV
13                      streaming platform or authorized Plaintiffs’ intellectual property to
14                      be used in connection with the Skill House film and/or the GenTV
15                      streaming platform;
16                  f. Aiding, assisting, or abetting any other individual or entity in doing
17                      any act prohibited under any claim alleged herein;
18         2.    For an award to Plaintiffs of actual damages in an amount to be proven at
19   trial, but no less than $5,000,000;
20         3.    For an order that Defendants account and pay to Plaintiffs all profits
21   derived from Defendants’ unlawful conduct;
22         4.    For an award to Plaintiffs of Defendants’ aforementioned profits resulting
23   from their unlawful conduct;
24         5.    For an award to Plaintiffs of treble damages and increased profits;
25         6.    For an award to Plaintiffs of punitive and exemplary damages;
26         7.    For an award to Plaintiffs of interest in an amount according to law;
27         8.    For an award to Plaintiffs of their reasonable attorneys’ fees and costs;
28   and

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 1         9.    For an award to Plaintiffs of such other and further relief at law or in
 2   equity as this Court deems just and proper.
 3                             DEMAND FOR JURY TRIAL
 4         Plaintiffs hereby demand a trial by jury trial in this action on all claims so
 5   triable pursuant to Rule 38 of the Federal Rules of Civil Procedure.
 6

 7   DATED: April 24, 2025             BLANK ROME LLP

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 9
                                       By: /s/ Jonathan A. Loeb
10                                             Jonathan A. Loeb
                                       Attorneys for Plaintiffs
11                                     CURTIS J. JACKSON, III AND NYC VIBE,
                                       LLC
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